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                                   i:bTh    U Ms
                                                                             /
    UNITED STATES OF AMERICA,              FIRST SUPSERSEDING INN                   NT
          Plaintiff,                       Case No.: SA-20-CRO0387-DAE
                  V.                       COUNT 1: 21 U.S.C. §546, S41(a)(1) &
                                                           -
                                           841(b)(1 )(A) Conspiracy to Possess with
                                           Intent to Distribute More Than 500
                                           Grams of a Mixture or Substance
                                           Containing Methamphetamine
                                           COUNT 2: 21 U.S.C. §846, 841(a)(1) &
                                           841 (b)(1)(A)- Conspiracy to Possess with
                                           Intent to Distribute More Than Five
                                           Kilograms of a Mixture or Substance
                                           Containing Cocaine
                                           COUNT 3:21 U.S.C. §846, 841(a)(1) &
                                           841(b)(1)(B) - Conspiracy to Possess with
                                           Intent to Distribute More Than 500
                                           Grams of a Mixture or Substance
                                           Containing Cocaine
     AKA "Rocky";
    JAY HAGGARD (10);                      COUNT 4: 21 U.S.C. §841(a}(l),
                                           841 (b)(1)(A) and 18 U.S.C. § 2 -
                                           Possession with Intent to Distribute More
                                           Than Five Kilograms of a Mixture or
                                           Substance Containing Cocaine
                                           COUNT 5: 21 U.S.C. §841(a)(1) &
    OSCAR REREDIA (16);                                    -
                                           841(bXI)(A) Possession with intent to
    JASON GUTIERREZ (17),                  Distribute More Than 500 Grams of a
     AXA "Big Mac";                        Mixture or Substance Containing
    JACOB SAN     Z (18)                   Methamphetamine
         Defendants.                       COUNT 6:   21 U.S.C. §841(a)(1)   &
                                           841(b)(1)(A)    - Possess1n with Intent to
                                           Distribute More Than 500 Grams of a
                                           Mixture or Substance Containing
                                           Methainpbetainine
                                           COUNT 7: 21 U.S.C. §841(a)(i) &
                                                          -
                                           841(b)(1)(A) Possession with intent to
                                           Distribute More Than 500 Grams of a
                                           Mixture or Substance Containing
                                           Methamphetamine
                                           COUNT 8: 21 U.S.C. §841(a)(1) &
                                                          -
                                           841(b)(1)(A) Possession With Intent to
                                           Distribute More Than 500 Grams of a
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                                                      Mixture or Substance Containing
                                                      Methamphetatnine
                                                      COUNT 9: 21 U.S.C. §841(aXI),
                                                      841(bXl)(A) and 18 U.S.C. §    2
                                                      Possession with Intent to Distribute More
                                                      Than 500 Grams of a Mixture or
                                                      Substance Containing Methamphetamine
                                                      COUNT 10: 21 U.S.C. §841(a)(1) &
                                                      841(KXI)(A) * Possession with Intent to
                                                      Distribute More Than 500 Grams of a
                                                      Mixture or Substance Containing
                                                      Metbamphetainiac
                                                      COUNT ii: 18 U.S.C. §922(g)     - Felon in
                                                      Possession of a Firearm



THE GRAND JURY CUARGfS:

                                         COUNT ONE
                        f21 U.S.C. § 846, 841(a)(1)   and   841(b)(1)(A)J


        That beginning in or around April 2020, the precise date unknown, and continuing to in or

about September 2020, the precise date unknown, in the Western District of Texas and elsewhere,

Defendants




did knowingly and intentionally combine, conspire, confederate and agree together and with each

other, and with other persons known and unknown to the Grand Jury, to distribute and possess

with intent to distribute 500 grams or more of a mixture or substance containing a    detectable
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 amount of methamphetamine, a Schedule H controlled                              substance1   its salts, isomers, and salts of its

 isomers, in violation of Title 21, United States              Code1
                                                                       Sections 846, 841(a)(1) and 841(b)(1)(A).

                                         PENALTY ENI-IANCEMENI'

             S
                                                                                                                 committed the

offense charged in this count,

a final conviction for a serious drug felony, namely, Conspiracy to Distribute and Possess With

the Intent to Distribute Cocaine, under Title 21, United States Code, Section 846, for which he

served more than 12 months of imprisonment and for which he was released from serving any term

of imprisonment rclatcd to that offense within            15       years of the commencement of the instant

offense.

                                                 COUNT TWQ
                           :121   U.S.C. §      46, S4ia)(1) and 841(b)(1)(A)J

        That beginning on or about May 12,2020, and continuing to on or about May 13, 2020, in

the Western District of Texas and elsewhere, Defendants


                              tiisi            iei.sxpji                         rr               i




did knowingly and intentionally combine, conspire, confederate and agree together and with each

other, and with other persons known and unknown to the Grand Jury, to distribute and possess

with intent to distribute iivc kilograms or more of a mixture or substance containing a detectable

amount of cocaine, a Schedule       11   controlled substance, its salts, isomers, and salts of its isomers.

in violation of Title 21, United States Code, Sections 846, 841 (a)( 1) and 841 (b)( I )(A).
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                                       PENALTY ENHANCEMENT

        Before                                                                              committed the

offense charged in this count.,                                                                        had

a final conviction for a serious drug felony, namely, Conspiracy to Distribute and Possess With

the Intent to Distribute Cocaine, under Title 21, United        States   Code,   Section 846. for which he

served more than 12 months of imprisonment and for which he was released from serving any term

of imprisonment related to that offense         within 15   years of the commencement of the instant

oflnse.

                                             COUNT     I
                            2J U.S.0 § 846, 841(a)(1) and 841(b)(1)(B)J

        That beginning on or about April 25, 2020, and continuing to in or about July 31, 2020, in

the Western District of Texas, Defendants

                          FRANC1S0 GARZA                  AKA "Pancho" and
                           JASON GUTIE               Z (17), AKA "Big Mac"

did knowingly and intentionally combine, conspire, confederate and agree together and with each

other, and with other persons known and unknown to the Grand Jury, to distribute and possess

with intent to distribute 500 grams or more of a mixture or substance containing a detectable

amount of cocaine, a Schedule     11   controlled substance, its salts, isomers, and salts of its isomers.

in violation of Title 21, United States Code, Sections 846, 841 (a)( I) and 841 (b)( I )(B).

                                             CO        FOUR
                    121   U SC § 841(a)(l), 841(b)(IXA) and IS U S C §               21

       That on or about May 13, 2020, in the Western District of Texas and Northern District of

Texas, Defendants
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 did knowingly, intentionally and unlawfully possess, and aid and abet each other to possess, with

 intent to distribute five kilograms or more   ola mixture or substance containing a detectable amount
 of cocaine, a Schedule    II controlled substance, its salts, isomers, and salts      of its isomers, in
 violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(1)(A), and Title 18 United

 States Code Section 2.

                                          COUNT FIVE
                             121   US C § 841(a)(1) and 841(b)(1)(A)I
        That on or about May 17, 2020, in the Western District of Texas and Northern District of

 Texas, Defendant



did knowingly, intentionally and unlawfully possess with intent to distribute 500 grams or more

of a mixture or substance containing a detectable amount of methamphetamine, a Schedule                11


controlled substance, its salts, isomers, and salts      of its isomers, in violation of Title 21, United
States Code, Sections 841 (a)( 1) and 841 (b)( 1 )(A),

                                           COUNT SIX
                             121   V S C § 841(a)(1) and 841(b)(l)(A)J

        That on or about June 20, 2020, in the Western District of Texas and Northern District of

Texas, Defendant



did knowingly, intentionally and unlawfully possess with intent to distribute 500 grams or more

of a mixture or substance containing a detectable amount of methamphetamine, a Schedule ii

controlled substance, its salts, isomers, and salts of its isomers, in vio'ation of Title 21, United

States Code, Sections 84l(aXl) and 841(b)(l)(A)
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                                             COUNT SEVEN
                               121   U.S.C. § 841(aXI) and 841(b)(1)(A)j

         That on or about July 13, 2020, in the Western District of Texas and Northern 1)istrict of

 Tcxas, Defendants

                           FRANCISCO GARZA (2, AKA "Pancho" and


 did knowingly, intentionally and unlawfully possess. and aid and abet each other to possess, with

 intent to distribute 500 grams or more of a mixture or substance containing a dciectiahle amount of

 methamphetamine, a Schedule II controlled substance, its salts, isomers, and salts of its isomers,

 in violation of Titic 21, United States Code, Sections 841 (a)( I) and 841 (h)( I )(A),

                                              OUNT EIGHT
                              121    U.S.C. § 841(a)(1) and 841(b)(1)(A)J

        That on or about July 31, 2020, in the Western District of Texas, Defendant

                                         OSCAR HEREIMA (16)

did knowingly, intentionally and unlawfully possess with intent to distribute 500 grams or more

of a mixture or substance containing a detectable amount of methainphetamine, a Schedule          [1


controlled substance, its salts, isomers, and salts of its isomers, in violation of Title 21, United

States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                         CO       NINE
                     [21   U.SC. § 841(a)(1), 841(b)(I)A) and 18 U.S.C. §        2J

        That on or about August 7, 2020, in the Western Disirict of Texas, Defendants

                            FRANCISCO GARZA (2) AXA "Pancho"
                                  JOSE TABARES (S, and
                               MiCHELLE ZAMARRIPA (7)

did knowingly, intentionally and unlawfully possess, and aid and abet each other to possess, with

intent to distribute 500 grams or more of a mixture or substance containing a detectable amount of

methainpbetamine, a Schedule ii controlled substance, its salts, isomers, and salts of its isomers,
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 in violation of Title 21, United Slates Code, Sections 841(a)(l) and 84(bX1)(A), and Title 18

 United States Code Section 2.

                                           COUNT TEN
                             [21 U.S.C. § 841(a)(1)   and 84Ib)(1)(A)1
         That on or about August 28, 2020, in the Western District of Texas, Defendants

                        RODGER HERNANDEZ (9), AKA "Rocky" and
                                 JAY hAGGARD (10)

 did knowingly, intentionally and unlawfully possess with intent to distribute 500 grams or more

 of a mixture or substance containing a detectable amount of inethamphetamine, a Schedule II

 controlled substance, its salts, isomers, and salts of its isomers, in violation of Title 21, United

 States Code, Section 841(a)(1) and 841(b)(1)(A).

                                        COUNT ELEVEN
                                        {18 U S C § 922(g)J

          That on or about August 28, 2020, in the Western District of Texas, Defendant

                                      JAY HA(GARl) (10),

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Taurus semi-automatic pistol, serial



commerce in violation of Title 18, United States Code, Sections 922(g)( 1).

     NOTLCE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFE1TUR
                         [See Fed. R. Crini. P. 32.2


                                                 I.

                   Controlled Substance Vaol*tions and Forfeiture Statutec
    (Title 21 U.S.C. § 846, 841(aXl), (b)(t)(A,) 841(b)(l)(B,) and 2; subject to forfeiture
                       pursuant to Title 21 L S C § 853(a)(1) and (2)1

       As aresuJt of the criminal violations set forth in Counts One through Ten, the United States

gives notice to Defendants of its intent to seek the forfeiture of the properties described below
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 upon conviction pursuant to Fed. R. Crim. P. 32,2 and Title 21 LLS.('.     §   853(a)(l) and (2), which

 states the folLowing

        Title 21 U.S.C. § 853. Criminal forfeiture
                (a) Property subject to criminal forfeiture
                Any person convicted of a violation of this subchapter or subchapter Ii of this
                chapter shall forfeit to the United States
                       (1) any property constituting. or derived from, any proceeds the person
                       obtained, directly or indirectly, as the result of such violation.;
                       (2) any of the persons property used, or intended to be used, in any manner
                       or part, to commit, or to facilitate the commission of, such violation.

                                                  11.
                         Firearms Violations and Forfeiture Statutes
  iTitle 18 U.S.C. § 922(g)(1), subject to forfeiture pursuant to Title 18 U.S.C. § 923(d)(1),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 24611

        As a result of the criminal violation set forth in Count Eleven, the United States gives notice

to Defendants of its intent to seek the forfeiture of the properties described below upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.   §   924(d)(I), made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461, which states:

       Title 18 U.S.C. § 924. Penalties

       (d)(l) Any fireann or ammunition involved in or used in any knowing violation of
       subsection. . . (g). . . of section 922. . . shall be subject to seizure and forfeiture.
         under the provisions of this chapter,

       This Notice of Demand for Forfeiture includes but is not limited to the properties described

in paragraph   111.


                                                111.
Real Properties

       Real Property located at 610    W Rosewood Ave., San Antonio, Bexar County, Texas
       78212 more particularly described as Lots 13 And 14, Block 22, New City Block 6421,
       Beacon Hill Terrace, In The City Of San Antonio, Bexar County, Texas, According To
       Plat Thereof Recorded En Volume 368, Page 339, Deed And Plat Records Of Bexar County,
       Texas,

      Real Property located at 239 Agnes, San Antonio, Bexar County, Texas 7821.2 more
      particularly described as Being 0,138 Acres Of Land Out Of 1.ots 46 And 47, Block 20,
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             New City Block 7324, Kenwood Addition, City Of San Antonio, Bexar County, Texas,
             According To PIat Recorded In Volume 105, Page 49,      And P1st Records; Bexar
             County, Texas.

            Real Property located ax 235 Joe Blanks, San Antonio, Bexar County, Texas
                                                                                      78237 more
            particularly described as Lot 21 Block 6 New City Block 12960 Known As
                                                                                   235 Joe Blanks,
            City of San Antonio Bexar County, Texas.


            Real Pro          located at 690 Blue       RH     Cove    [)r,   Lakebllls,   Bandera County, Texas
            78063 more      particularly described as Part           Of   Lot 12   And     Part   Of Lot   13,   Block   6.
            Subdivision C,    Of Lake Medina Highlands,             A Subdivision Of Record In Bandera County,
            Texas,    As Recorded    In   Volume   1,   Page   5,   Of The Map And         Plat Records     Of Bandera
        County, Texas
 Personal Property


            Taurus semiautomatic      pistol, serial    number TCT50487

 Money Judgment

            A
            sum of money that represents the amount of proceeds obtained, directly or indirectly, as
 a result of the violations set forth above for which Defendants are individually liable.


Substitute Assets


            If any   of the properties described above, as a        result   of any actor omission of l)efendants:

           a.        cannot be located upon the exercise of due diligence;
           b.        have been tninsferred or sold to, or deposited with, a third party;
           c.        have been placed beyond the jurisdiction of the Court;
           d.        have been substantially diminished in value; or
           e.        have been commingled with other property which cannot be divided without
                     difficulty;


it is   the intent of the United States to seek the forfeiture of any other property              owned by Defendants
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Title 21       § S53(p.




ASHLEY C. 110FF
UNITED STATES ATTORNEY


BY:
       ERIC YUEN
       Assistant United States Attorney
